                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS


IN RE:

       Reba Simone Paul,                                            Case No: 23-20846-13

                             Debtor.

                     CHAPTER 13 TRUSTEE’S OBJECTION TO DEBTOR’S
                       MOTION TO EXTEND THE AUTOMATIC STAY

       COMES NOW the Chapter 13 Trustee, W. H. Griffin and for his Objection to Debtor’s
Motion to Extend the Automatic Stay hereby states and alleges as follows:
   1. The debtor’s prior Chapter 13 case, Case No. 22-21172, was filed on December 1, 2022.
       Debtor’s first plan payment of $24,500 was due within 30 days of filing, December 31,
       2022.
   2. The First Meeting of Creditors was originally scheduled for January 5, 2023, but was
       continued to February 8, 2023, due to the debtor being out of town. At the meeting held
       on February 8, 2023, the debtor appeared and stated that she misunderstood when her
       first payment was due because the date of the meeting had changed. The debtor stated
       that she would send a payment right away and that she was holding onto money for that
       purpose.
   3. On March 7, 2023, the Trustee had not received a Plan payment from the debtor and filed
       a Motion to Dismiss, Doc. 33. At that time the default was $49,000.00.
   4. The Trustee received two checks from the debtor on March 22, 2023, in the amounts of
       $9,800 and $10,000. However, both checks were returned. Check #12595 for $10,000
       was returned as stale due to it being dated March 20, 2022. Check #1244 for $9,800, also
       dated March 20, 2022, was returned for insufficient funds the first time it was run
       through by the bank but ended up being rejected as stale dated as well.
   5. On March 27, 2023, the debtor filed a Response to the Trustee’s Motion to Dismiss (Doc.
       40) advising that she would “remit the collected rent amount of $27,486 to the Trustee
       immediately” and pay the remaining delinquency over the following six months.
   6. The case was dismissed by Order of the Court on July 7, 2023, Doc. 48.




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   7. The debtor’s Motion to Extend the Automatic Stay (Doc. 10) filed on July 28, 2023,
       states in Paragraph two: “Contemporaneously with the filing of this motion, Debtor has
       mailed a payment to the Trustee”. No payment has been received as of August 8, 2023.
   8. The only payments received by the Trustee during the seven months that her prior case
       was open were returned. To date, the debtor has not submitted a single payment in this
       current case and no electronic payments are pending. Due to these reasons, the Trustee
       lacks the confidence that she will be able to make ongoing Plan payments.
   9. The Trustee believes that the debtor is abusing the bankruptcy system. She has not in
       good faith attempted to make her Chapter 13 Plan payments and according to Proof of
       Claim 4-1, filed by the Internal Revenue Service on August 3, 2023, the debtor owes a
       total amount of $547,229.68. Of that amount, $509,676.55 is secured while the
       remaining $37,553.13 is unsecured.
   10. The Trustee believes that if the Court extends the automatic stay, the debtor should be
       required to make her Plan payment in full each month by the 30th of the month or the
       case can be dismissed without further notice or hearing.
   WHEREFORE, the Trustee hereby requests that the Court deny the debtor’s Motion to
Extend the Automatic Stay (Doc. 10) and for such other and further relief as the Court deems just
and equitable under the circumstances.


Dated: August 8, 2023                Respectfully submitted by:
                                     s/W. H. Griffin, Chapter 13 Trustee
                                     ____________________________
                                     W. H. GRIFFIN, #08060, TRUSTEE
                                     5115 Roe Blvd., Ste. 200
                                     Roeland Park, Kansas 66205
                                     (913) 677-1311
                                     (913) 432-7857 (Fax)
                                     inquiries@13trusteekc.com




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                                CERTIFICATE OF MAILING
        I, the undersigned, hereby certify that a true and correct copy of the foregoing Objection
to the Debtor’s Motion to Extend the Automatic Stay was filed electronically on August 8, 2023,
using the CM/ECF system, which sent notification to all parties of interest participating in the
CM/ECF system and shall be served by U.S. Mail, First Class, postage prepaid, to:

Reba Simone Paul
1801 E. Stratford Rd.
Olathe, KS 66062

Skinner Law LLC
100 E. Park St., Ste. 205
Olathe, KS 66061                     Respectfully submitted by:
                                     s/W. H. Griffin, Chapter 13 Trustee
                                     ____________________________
                                     W. H. GRIFFIN, #08060, TRUSTEE
                                     5115 Roe Blvd., Ste. 200
                                     Roeland Park, Kansas 66205
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